Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6

EXHIBIT “C”
Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6
Case 8-22-72698-ast Claim 31-1 Filed 12/05/22 Desc Main Document Page 1 of 3

Debtor 4 Blue Diamond Air Systems, Inc.

TURTLE LCC UUM a Lt omot bobo

Debtor 2

{Spouse, if fling)

United States Bankruptcy Court for the: Southern District of New York
Case number 8-22-72698-AST

Official Form 410

Proof of Claim 1245

Read the Instructions before filling out this form. This form is for making a claim for payment In a bankruptcy case, Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, Invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,

explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571,

Fill in all the Information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

Identify the Claim

1. who js the current Dime Community Bank
Name of the current creditor (the person or antily to be pald for this claim)
Other names the creditor used with the debtor BNB Bank
2. Has this claim been wi No
acquired from
someone else? CJ Yes. From whom?
3. Where should notices Where should notices to the creditor be sent? Where should payments to the creditor be sent? (if
and payments to the different)
ereditor be sent? Robert J. Malatak
Federal Rule of Name Name
Bankruptcy Procedure
(FRBP) 2002(g) 156 West 56th Street
Number Bireet Number Street
New York NY 10019
Cily State ZIP Code City State ZIP Code
Contact phone 212-237-1034 Contact phone
Contact email fmalatak@windelsmarx.com Contact email
Uniform claim identifier for electronic payments in chapter 13 (if you use one):
4. Does this claim amend wh No
one already filed? CJ Yes. Claim number on court claims registry (if known) Filed on
7DO OF YYYY
5, Do you know if anyone vi No
else has filed a proof’ = CJ yes, Who made the earlier filing?
of claim for this claim?

Official Form 410

Proof of Claim page 1

Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6
Case 8-22-72698-ast Claim 31-1 Filed 12/05/22. Desc MainDocument Page 2073

Ea Give Information About the Claim as of the Date the Case Was Filed

6. Doe you have any number wi No

you use to identify the = (J Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
ebtor

7. How much is the claim NO legs than $9,565,821 32 plus . Does this amount include interest or other charges?
pre-petition interest, late charges, () No

legal fees, default interest, post-

wi Yes. Attach statement itemizing interest, fees, expenses, or other

petition interest, costs, and expenses charges required by Bankruptcy Rule 3001(c}{2)(A).
due under the loan documents See Attachment,
8. What Is the basis ofthe | Examples: Goods sold, money loaned, lease, services perfarmed, personal injury or wrongful death, or credit card,
claim? Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001{c).
Limit disclosing infermation that is entitled to privacy, such as health care information.
Secured indebtedness; see attachment
9, Is all or part of the claim No
secured? Yes. ‘Tha claim is secured by a llen on property.

Nature of property:

i Real astate. If the claim is secured by the debtor's principal residence, file a Morigage Proof of Claint
Attachment (Official Form 410-A) with this Proof of Claim.
CI Motor vehicle
Other. Describe; All of Debtor's assets; see Attachment.

Basis for perfection: UCC Filing Statement; see Attachment

Altach redacted copies of documents, if any, that show evidence of perfaction of a security interest (for
example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
been filed or recorded.)

Value of property:

Amount of the clalm that is secured: $

Amount of the claim that is unsecured: § {The sum of the secured and unsecured
amounts should atch the amount in line 7.)

Amount necessary to cure any default as of the date of the petition: = $.

Annual Interest Rate (when case was filed) %
O] Fixed
LY Variable
10. Is this claim based on a ¥i No
lease?
C] Yes, Amount necessary to cure any default as of the date of the petition. $

11. 1s this claim subject to a wi No
right of setoff?
Cl Yes. Identify the property:

Official Form 410 Proof of Claim page 2
Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6
Case 8-22-72698-ast Claim 31-1 Filed 12/05/22 Desc Main Document Page 3 oT 3

12. Is all or part of the claim wi No
entitled to pricrity under

11 U.S.C, § 507 (a)? OQ Yes. Check one: Amount entitied to priority
A claim may be partly QC) Domestic support obligations (Including allmony and child support) under

priority and partly 11 U.S.C. § 507 (a}{1 (A) or (a)(1)(B). $

nonpriority. For example,

in some categories, the C] Up to $2,775" of deposits toward purchase, lease, or rental of property or services for

law limits the amount personal, family, or household use. 11 U.S.C. § 507(a)(7).

entitled fo priority.

LJ Wages, salaries, or commissions (up to $12,475") earned within 180 days before the
bankruptcy petition is filed or the debtor's busIness ends, whichever is earlier.

44 U.S.C. § 507fa)(4),

C) Taxes or penalties owed to governmental units. 11 U.S.C. § 507 (a)(8). $
LJ Contributions to an employee benefit plan, 11 U.S.C. § 507(a)(5). 3
CL] Other. Specify subsection of 11 U.S.C, § 507(a}{__) that applies. $

* Amounts are subject to adjustment on 4/01/16 and every 3 years after (hat for cases begun on or after the date of adjustment.

The person completing Check the appropriate box:
this proof of claim must

sign and date it. CY | am the creditor.

FRBP 9011(b). | am the creditor's attomey or authorized agent.

If you file this a CJ | am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
electronically,

5005(a)(2) authorizes courts C) | ama guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

to establish local rules
specitying what a signalure (understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
. amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

A person who files a

fraudulent claim could be | have examined the information in this Proof of Claim and have a reasonable bellef that the information is true

fined up to $500,000, and correct,

imprisoned for up to 5

years, or both. wo

18 U.S.C. §§ 152, 157, and | declare under penalty of perjury that the foregoing is true and correct.

3571.
Executed on date 12/05/2022
MM? DD 7 YYYY

/sf Robert J. Malatak

Signature

Print the name of the person who Is completing and signing this claim:

Robert Jerome Malatak

Name
First name Middle name Last name
Title Partner
Company Windels Marx Lane & Mittendorf, LLP
Identify the corporate servicer as the company if the authorized agent is a servicer.
Address 156 West 56th Street
Number Street
New York NY 10019
Cliy State ZIP Code
Contact phone 212-237-1034 Email rmalatak@windelsmarx.com

Official Form 410 Proof of Claim page 4
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Case 8-22-72698-ast Claim 31-1 Part2 Filed 12/05/22 Desc Attachment to Proot
of Claim Page 1 of 7

Attorneys for Dime Community Bank, Secured Creditor

WINDELS MARX LANE & MITTENDORF, LLP

156 West 56" Street

New York, New York 10019

Tel: (212) 237-1000

Fax; (212) 262-1215

Attorney appearing: James M., Sullivan (sullivan@windelsmarx.com)
Robert J. Malatak (rmalatak@windelsmarx.com)

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORE
In re

Chapter 11
BLUE DIAMOND AIR SYSTEMS, INC.,

Case No, 8-22-72698-AST
Debtor.

ATTACHMENT TO PROOF OF CLAIM OF DIME COMMUNITY BANK

Dime Community Bank, formerly known as BNB Bank, on behalf of itself (“Creditor” or
“Dime”) in support of its proof of claim against Blue Diamond Air Systems, Inc. (“Debtor”),!
represents as follows:

1, Windels Marx Lane & Mittendorf, LLP, located at 156 West 56" Street, New York,
NY 10019, is authorized to make and hereby submits this proof of claim on behalf of Dime.

2, Dime’s claim against the Debtor’ is based on three separate loans between Dime
and the Debtor: a small business administration loan (“SBA Loan’), a line of credit (“Line of

Credif’) and commercial mortgage loan (“Mortgage Loan” and, together with the SBA Loan and

1 Upon information and belief, prior to Debtor’s filing of a chapter 11 petition, the related entities Blue
Diamond Sheet Metal Inc, (“BDSM”) and Diam-N-Blu Mechanical Corp. (“DNB” and together with
BDSM, the “Fermer Entities”) merged to form the Debtor. The Debtor assumed all of the assets and
liabilities of the Former Entities, including with respect to the Loan Documents (defined below).

? Dime is the owner and holder of this claim against the Debtor’s estate as successor in interest by its
merger with BNB Bank, which was effective as of February 1, 2021,

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Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6
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the Line of Credit, the “Zoans’”).> The Loans are evidenced by the following documents (the “Loan

Decuments”):*

a. With respect to the SBA Loan: (1) Note for the original principal balance

of $4,650,000.00, dated December 18, 2020, executed by the Former
Entities and BSR, MMS, Mr. LaBella and Ms. LaBella (together, the
“LaBellas”) in favor of Bank;> (2) Mortgage, dated December 18, 2020,
executed by BSR and the LaBellas in favor of Bank; (3) Loan Agreement,
dated December 18, 2020, executed by and among Bank, the Former
Entities, BSR, MMS and the LaBellas; (4) Security Agreement, dated
December 18, 2020, executed by Former Entity BDSM; (5) Security
Agreement, dated December 18, 2020, executed by Former Entity DNB; (6)
Security Agreement, dated December 18, 2020, executed by MMS; (7) Blue
Station Realty LLC Members’ Certificate and Consent, dated December 18,
2020, executed by the LaBellas; (8) Business Personal Property
Certification, dated December 18, 2020, executed by the Former Entities,
BSR, MMS and the LaBellas; (9) Affidavit and Agreement of Compliance,
sworn to on December 18, 2020, by Mr. LaBella on behalf of Former Entity
BDSM; (10) Affidavit and Agreement of Compliance, sworn to on
December 18, 2020, by Mr. LaBella on behalf of Former Entity DNB; (11)

Affidavit and Agreement of Compliance, sworn to on December 18, 2020,

3 Tn addition to the Former Entities, other borrowers with respect to the Loans are: Blue Station Realty LLC
(“BSR”), Mirage Mechanical Systems Inc.(“MMS”), Albert LaBella (Mr. LaBella”) and Meghan LaBella

(“‘Ms. LaBella’).

4 Copies of the Loan Documents are available upon request.
5 For purposes of describing the Loan Documents, “Bank” shall mean Dime as successor by merger to

BNB Bank.

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Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6
Case 8-22-72698-ast Claim 31-1 Part2 Filed 12/05/22 Desc Attachment to Proof

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of Claim Page 3 of 7

by Mr. LaBella on behalf of MMS; (12) Collateral Security Agreement,
dated December 18, 2020, assigning Mr. LaBella’s life insurance policy
from William Penn Life Insurance Company of New York (“William
Penn’) to Bank; (13) Collateral Security Agreement, dated December 18,
2020, assigning Ms. LaBella’s life insurance policy from William Penn to
Bank; and (14) all other agreements, documents, instruments, including
UCC filings, referred to or at any time executed and/or delivered in

connection with the above-referenced documents;

. With respect to the Line of Credit: (1) Line of Credit Note for the original

principal balance of $3,200,000.00, dated March 1, 2021, executed by the
Former Entities in favor of Bank (the “Line of Credit Note”); (2) Continuing
General Security Agreement, dated March 3, 2021, executed by MMS; (3)
Compliance Agreement, dated March 3, 2021, executed by the Former
Entities; (4) Continuing Guaranty Unlimited, dated March 3, 2021,
executed by Mr. LaBella (5) Continuing Guaranty Unlimited, dated March
3, 2021, executed by Ms. LaBella (6) Continuing Guaranty Unlimited, dated
March 3, 2021, executed by BSR; (7) Continuing Guaranty Unlimited,
dated March 3, 2021, executed by MMS; (8) Extension Agreement, dated
Jannary 1, 2022, by and among Bank and the Former Entities, with Note
Addendum executed by the Former Entities; and (9) all other agreements,
documents, instruments, including UCC filings, referred to or at any time
executed and/or delivered in connection with the above-referenced

documents; and
Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6

Case 8-22-72698-ast Claim 31-1 Part? Filed 12/05/22 Desc Attachment to Proot
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c, With respect to the Mortgage Loan: (1) Mortgage Note for the original
principal balance of $2,364,000.00, dated December 18, 2020, executed by
the Former Entities, BSR, MMS and the LaBellas in favor of Bank; (2)
Mortgage and Security Agreement, dated December 18, 2020, executed by
BSR in favor of Bank; (3) Assignment of Leases and Rents, dated December
18, 2020, executed by BSR in favor of Bank; (4) Compliance Agreement,
dated December 18, 2020, executed by the Former Entities, BSR, MMS and
the LaBellas; (5) Payment Moratorium, dated February 5, 2021, executed
by and among Bank, the Former Entities, BSR, MMS and the LaBellas,
with Note Addendum executed by the Former Entities; and (6) all other
agreements, documents, instruments, including UCC filings, referred to or
at any time executed and/or delivered in connection with the above-
referenced documents.

3. As reflected in the Loan Documents, the Loans are secured by substantially all of
the Debtor’s assets.° Dime’s security interest in the Debtor’s assets is evidenced by the following
UCC filings (the “WCC Filings”): (i) UCC financing statement filed on December 28, 2020, Filing
Number 202012285180812; (ii) UCC Financing Statement Amendment filed on May 4, 2022,
Financing Number 202205048214538; and (iii) UCC Financing Statement filed on May 4, 2022,
Filing Number 2022050482 14590. The UCC Filings are attached hereto as Exhibit A.

4, On October 4, 2022 (“Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

® The Debtor’s Schedules accurately identify the SBA Loan and Line of Credit (but not the Mortgage Loan)
as secured claims. See Doc. No. 67, Sched. D at 2.2 & 2.3. The Debtor has also filed a sworn affidavit
identifying Dime as its first-priority secured creditor. See Doc. No. 32 at 717.

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Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6

Case 8-22-72694-ast Claim 31-1 Part2 Filed 12/05/22 Desc Attachment to Proot
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5. As of the Petition Date, the Debtor was, and still is, indebted to Dime in an
aggregate amount no less than $9,565,821.32 (the “Claim Amount’). The Claim Amount includes
the following amounts:

a, With respect to the SBA Loan, indebtedness equaling the principal due in
the amount of $4,059,644.68, plus pre-petition interest, late charges, legal
fees, and default interest in amounts to be determined;

b. With respect to the Mortgage Loan, indebtedness equaling the principal due
in the amount of $2,309,263.91, plus pre-petition interest, late charges, legal
fees, and default interest in amounts to be determined; and

c. With respect to the Line of Credit, indebtedness equaling the principal due
in the amount of $3,196,912.73, and pre-petition interest, late charges, legal
fees, and default interest in amounts to be determined.

6. Additional supporting documents detailing the amounts owed making up the Claim
Amount will be provided on request.

7. Creditor reserves any contractual, common law and statutory right and claim it has
or may have against the Debtor or its estate, including, without limitation, any additional unpaid
amounts that have or will in the future accrete or accrue, reimbursement of any additional out-of-
pocket expenses, and all the right of setoff or recoupment, whether under Bankruptcy Code § 553
or otherwise.

8, Creditor reserves the right to (i) amend, modify, supplement or update this claim at
any time or in any respect, including, without limitation, to quantify, correct, or increase the
amounts asserted herein, to assert any other amounts that may otherwise be owed to it under any

agreement it has with or services it has performed for Debtor or under applicable law to fix the

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Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6

Case ¥-22-72698-ast Claim 31-1 Part2 Filed 12/05/22 Desc Attachment to Proot
of Claim Page 6 of 7

amount of any contingent or unliquidated claim; (ii) file a request for allowance and /or payment
of administrative expenses in accordance with 11 U.S.C. §§ 503 and 507; and (iii) file additional
proofs of claim in respect of any other claim, liability, or indebtedness of the Debtor to Creditor,
including any additional claim that may be based on the same or additional documents or grounds
of liability.

9. This claim is submitted without prejudice to Creditor’s rights in all respects.
Creditor does not waive any rights that it has or may have against the Debtor or its estate. Nothing
contained in this claim shall be construed as limiting any of Creditor’s rights, remedies, and
interests.

10. The filing of this claim is not: (i) a waiver or release of Creditor’s rights against
any person, entity or property; (ii) a consent by Creditor to the jurisdiction with respect to the
subject matter of this claim, any objection or other proceeding commenced in this case against or
otherwise involving Creditor; (iii) a waiver of the right to move to withdraw the reference, or
otherwise to challenge the jurisdiction of this Court, with respect to the subject matter of this claim,
any objection or other proceeding commenced with respect thereto or any other proceeding
commenced in this case against or otherwise involving Creditor; (iv) an election of remedy; or (v)
a waiver of any past, present or future defaults or breaches. Creditor specifically reserves all of its
procedural and substantive defenses and rights with respect to any claim that may be asserted
against Creditor by the Debtor, any committee or by any trustee or representative for the estate or
the Debtor.

11. No judgment has been rendered on this claim.

12. ‘The amount of all payments on this claim has been credited and deducted for the

purpose of making this proof of claim.

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Case o-24-Oo0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuioygio6

Case 8-22-72698-ast Claim 31-1 Part2 Filed 12/05/22 Desc Attachment to Proot
of Claim Page 7 of 7

13. Alt notices and communications concerning this proof of claim should be addressed
as follows:

Dime Community Bank

ATIN: Stuart Fliegelman, Vice President
898 Veterans Memorial Highway, Suite 400
Hauppauge, New York 11788

Email: Stuart.Fliegelman@dime.com

and to:

Windels Marx Lane & Mittendorf LLP

Attn: James M. Sullivan, Esq. and Robert J. Malatak, Esq.

156 W. 56" Street

New York, NY 10019

Telephone 212-237-1000

Facsimile: 212-262-1215

Email: jsullivan@windelsmarx.com
rmalatak(awindelsmarx.com

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Claim 31-1 Part3 Filed 12/05/22 Desc ExhibitA Page 1 of
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UCC FINANCING STATEMENT

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Lion Botutlons 690-391-326

FOLLOW INSTRUCTIONS (front and back) CARBFULLY
A. NAME & PHONE OF CO! TACT AT FILER [optional]

[ten Solutions
P.O, Bax 29074
Gtondale, OA 94209-9071, USA

(Fax)818-862-4444

L

[5° SEND ACKNOWLEDGMENT TO: (Name and Address)

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1. DEBTOR'S EXACT FULL LEGAL NAME - Ineart only ona debtor nama (1a oF tb} - do not sbbrevidte of combing names

oR

io ORGANIZATIONS NAME BLUE STATION REALTY LLG

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ORGANIZATION —-_ Limited Liability 2785608
DEBTOR Company | [yous

wk
2. ADDITIONAL DEBTOR'S EXACT FULL LEGAL NAME - Insert onty ap dabtor nama (22 oF 2b) - do aol abbravieto ar combina namas

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OR ap INDIVIDUALS LABT NAME FIRST RAKE MIGOLE NAME SUFFIX
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ORGANATION — @asporation NY 1236227
DEBTOR | | [lwone

3. SECURED PARTY'S NAME (or NAME

ol TOTAL ASSIGHEE of ASSIGNOR SP) - insert only ono secured partly name (33.07 Ib}

Je. GAGANIZATIONS NAME BNE Bank

x

ab. INCIVIOUAL'S LAST NAME

]FIRST NAME MIDDLE NAME SUFFIX

560

Te: MATING ADGRESS $96 Veterans Memorial Highway, Sulte

COUNTRY
USA

GY Hatippauge SYAVE” [BOS¥AL CODE
NY 11788

4. This FINANCING STATEMENT covers ihe folowing collateral
All inventory, equiprmont, aosounts Jrohiting but not lintilod to all hoalth-care-insurance receivables), chattel
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C FINANGING STATEMENT (FORM UCC I) (REV, 05/22/02)

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Case 8-22-72698-ast Claim 31-1 Pait3 Filed 12/05/22. Desc ExhibitA Page 2 of

UCC FINANGING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS (lront and back) CAREFULLY

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1019023 2020 Dec 28 PM05:04

8, NAME OF FIRST DES TOR (1 or 1b) ON RELATED FINANCING STATEMENT

$3, ORGANIZATIONS NAMEBLUE STATION REALTY LLG

OR :
bb. INDIVIDUAL’S LAST NAME FIRST NAME

MIODLE NAME, SUFFIX

10, MISCELLANEOUS:

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Bobtorisa TRANSMITTING UTILITY

18, Chock only il applicabla and check only one box,

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Case &8-22-72698-ast Claim 31-1 Part3 Filed 12/05/22 Desc ExnibitA Page 3 of

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UCC FINANCING STATEMENTADDENDUM
FOLLOW INSTRUCTIONS (front and Back) CAREFULLY

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§, NAME OF FIRST DEBTOR (1a or 16) ON RELATED FINANCING STATEMENT

ia, ORGANIZATIONS NAMEGLUE BTATION REALTY LLG

OR
l" iNOMDEAL'S LAST NAME FIRST NAME

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ADDITIONAL DEBTOR'S EXACT FULL LEGAL NAME- lvsert only ona name (118 of L1b}- de nol abbroviats or oombing names

119, ORGANIZATION'S NAME MIRAGE MECHANICAL SYSTEMS ING.

OR Tip INDIVIDUALS LAST NAME [FIRST RAKE MIDDLE NAME SUFFIX
Tic, MAILING ADDRESS 1165 Statlon Road cry Modford STATE POSTAL GODE COUNTAY
: ‘ NY 11763 UBA

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ORGANIZATION Gorporatian 2051597

DEBTOR | | f . Dwone
42.1 | ADDITIONAL SECWRED PARTY'S or [| ASSIGNOR S/P'S NAME. insovt anty png nama (122 oF 12h} :

T2a, ORGANIZATIONS NAME

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ido, MAILING ADDRESS ary {STATE i CODE counine

43. This FINANCING STATEMENT covers [i Umber to be cul or E] agenlroclad

conalarbl, OF is Hod 48 4 0 fixture filing,
44, Dosoription of reat alata:

16. Name and addiggs of a RECORD OWNER of pbovo-deseribed teal otlala
{if Debtor does not havea record interest}

16, Additional collateral dascription:

17, Check only Hf appicatle and check aaly one box,

Dabtar Is 4 I) Truel of] Trystad acting wih rogpacl to properly huld it trust ot[ ] Decedent's Estate

46. Check only if appleable and chock paly ong boot,

Debtor isa TRANSMITTING LITILITY
Fifed in connaciion with a Manufaclued-Hona Tramaciion — effective 30 yeors

Filed in connacton with a Publo-Flnanca Transaclion — silactiva 10 years

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UCC FINANCING STATEMENT AMENDMENT

FOLLOW INSTRUCTIONS {font and back) CAREFULLY
A. NAME & PHONE OF CONTACT AT FILER {oplionall
Miohaol F. O'Shoa, Baq.
B. SEND ACKNOWLEDGMENT TO: (Name and Address)
‘Cortliman Balin Adler & Hyman, LLP “YH

90 Munck Avorue
Bart Meadow, NY 11554, USA

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49, INITIAL FINANCINGSTATEMENTFAEH 2020122054390812 Filodate: 28-DEC-20 . tb. Tits FINANGING STATEMENT AMENOMENT y
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. Ri HS. -
2,1 [ TERMINATION: £ieclynness of the Financing Statement identified above is tenmliated with raspact ta ‘security Inleres{s} of Ihe 8: d Party nuthevizing thta Tarmination Slalameni.
3.] ]CONTINUATION: Btfacth of tha Financing St identified above with reepeel lo gacully interest{a} of Ihe & 1 Ponty authorizing dls Conlinudtion Statement Is

continued for the additonal pariod providad by applicable law.

4, 1] ASSIGNMENT (tull or pertla!}: Give apme of nocignon inion 74 of Th and addiose of agsignes in tent 70 and alzo ghra name of aasignor ly Hom @.
6. AMENDMENT (PARTY INFORMATION): thie Amendment alfacts [xfositor De EI Secured Party of record, Chock only ona of tiaee bo boxos,
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&, ORGANIZATIONS NAME Blue Oiamond Sheet Matal, ne,

OR [gh NOWIBUALS LAST NAME FIRST NAME BOC e NAME SUFFIX

7, CHANGED [NEW) OR ADDED INFORMATION:
7a. ORGANIZATIONS NAME Blue Clamond Alr Systems, Inc.

G

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Fo, INDIVIDUALS LAST HARE FRET NAME SOLE WANE SUFFI
To, MAILING ADDRES 165 Slatlan Road crv Medford STATE [POSTAL GOOE COUNTRY
NY 14763 UBA
Wa. EE NSTRUCTIONS _. [ADDL INFO AE” [¥e, THE OF ORGANIZATION ~~ [TIURISDICTION OF OF GROANIZATION 79. ORGANIZATIONAL ID FF, any
ORGANIZATION Gorporalion ow York . ‘
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f, AMENOMENT {COLLATERAL CHANGE): chock only ong box,
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& NAME of SEGURED PARTY of REQORD AUTHORIZING THIS AMENDMENT fname of ancignoy, thls Is an Assignment), (fthla 4s an Amandmant authorized by 4 Oobtor which
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fe. ORGANIZATIONS NAME DIME COMMUNITY BANK, FORMERLY KNOWN AS BNE BANK

OR ie, INDIVIDUALS LAST NAME FIRST NAMB MIDOLE NAME BoE
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UCC FINANCING STATEMENT
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NAME & PHONE OF CONTACT AT FILER [optional

[8. SEND ACKNOWLEDGMENT TQ: (Name and Address}

Gertiiman Balln Adler & Hyman LLP ~T
80 Merrick Avenuo
East Moadow, NY 11554, USA

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41, DEBTOR'S EXACT FULL LEGAL NAME - ingen caly ona dabtor name {ta oF tb) + do not tale et nearness
{e. ORGANIZATIONS NAME BLUE DIAMOND AIR SYSTEMS, ING.

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+b INDIVIDUALS LAST NAME FIRST NAME MIODLE NAME SUFFIX
jo. MAILING ADDRESS 4165 Station Road GY Medford STATE [POSTAL GODE COUNTRY
: NY 11763 USA
1d, SEE INSTRUCTIONS". AnEYCINFO RE [te. TYPE OF ORGANIZATION Th IURISDICTION OF ORGANIZATION 19. ORGANIZATIONAL ID #, if any
ORGANIZATION =—- Garporation New York
DEBTOR | { } [Jione

2, ADDITIONAL DEBTOR'S EXACT FULL LEGAL NAME - ingort only one dubtor nama (2a of 2b} do aot abliravlate or combina namas
2a, ORGANIZATION S NAME

‘OR Ea INOIVIDUALG CAST NAME FIRST AME MIBOLE RAME SUFFIX
2c. MAILING ADBREBS cry STAVE [POSTAL CODE COUNTRY
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ORGANIZATION
DEBTOR | | i [Jone

4, SECURED PARTY'S NAME (or NAME of TOTAL ASSIGNEE of ASSIGNOR S/P} - Inseel only ana secured party name {Ja of 3b}
Bs. ORGANIZATION'S NAME BIME COMMUNITY BANK, FORMERLY KNOWN AS BNS BANK

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Fe. MAILING ADDRESS 998 VETERANG MEMORIAL HIGHWAY CY” HAUPPAUGE STATE [sia CODE COUNTRY
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4. This FINANGING STATEMENT covers the fodowing collateral!
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collateral: all fixtures; all timber fo be out; all attactimanis, accazsions, accessories, fillings, increases, tools,
parts, rapalre, guppies, and combitngtod goods retaling to the foragoing property, and alll wifitionz, roplacamants oF
and substitullons for al} or any part of (he foregoing property; all Insurance refunds relating to the foregoing
property; all good will relating to ihe foragaing property; all records ant data and ombadidod sofware relating to the
fora going property, and all equipmont, Inventory and software to utilize, croate, malntain and procase any such
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now existing or hareafter arlsing, whether now ownod or horeaftar acquirad or whether new or heraafter subject to any
rights In the foregoing property; snd alt products and proceeds (Ineluding but not limited to all Insurance payments)
of or relating te We foragaing property.

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§, OPTIONAL FILER REFERENCE DATA 248450282

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